Case 2:05-cr-20194-STA Document 9 Filed 06/15/05 Page 1 of 2 Page|D 8

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE §§ J?j-§t l § PH 3: L-, [
Western Division

 

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UNITED STATES OF AMERICA .`-`;',_¢§;;1. \.,~\r,g_ r;;t;: TN_ ;V;EMPL»H§
-vs- Case No. 2:05cr20194~B

JAMES ROSS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Aet (lS U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

D()NE and ORDERED in 167 North Main, Memphis, this \/__> day of June, 2005.

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T`U M. PHAM
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretria] Services Offlce

Assistant Federal Public Defender
lntake

JAMES ROSS

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 9 in
case 2:05-CR-20194 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

